Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Porter's Peninsula Logging LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  17985 Fourth Street
                                  Atlanta, MI 49709
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montmorency                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Porter's Peninsula Logging LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1133

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Porter's Peninsula Logging LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   Porter's Peninsula Logging LLC                                              Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Porter's Peninsula Logging LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 19, 2023
                                                  MM / DD / YYYY


                             X   /s/ Todd M. Porter                                                       Todd M. Porter
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Member




18. Signature of attorney    X   /s/ Rozanne M. Giunta                                                     Date May 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rozanne M. Giunta P29969
                                 Printed name

                                 Warner Norcross & Judd, LLP
                                 Firm name

                                 715 E. Main Street
                                 Suite 110
                                 Midland, MI 48640-5382
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     989-698-3758                  Email address      rgiunta@wnj.com

                                 P29969 MI
                                 Bar number and State




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                                                      United States Bankruptcy Court
                                                             Eastern District of Michigan
 In re    Porter's Peninsula Logging LLC                                                                          Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Todd Porter                                                                       100%                                       Sole Member



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Sole Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 19, 2023                                                        Signature /s/ Todd M. Porter
                                                                                        Todd M. Porter

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                                              United States Bankruptcy Court
                                                    Eastern District of Michigan
 In re   Porter's Peninsula Logging LLC                                                         Case No.
                                                                    Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Sole Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     May 19, 2023                                  /s/ Todd M. Porter
                                                        Todd M. Porter/Sole Member
                                                        Signer/Title




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                       Attorney General
                       Law Building
                       515 Ottawa
                       Lansing, MI 48913


                       BW & US Tax Office
                       3024 W. Grand Blvd., Ste. 11-500
                       Detroit, MI 48202


                       Internal Revenue Service
                       P.O. Box 7346
                       Philadelphia, PA 19101-7346


                       Michigan Department of Treasury
                       Bankruptcy Unit
                       P.O. Box 30168
                       Lansing, MI 48909


                       Michigan Unemployment Agency
                       P.O. Box 169
                       Grand Rapids, MI 49501


                       SBSE/Insolvency Unit
                       Internal Revenue Service
                       Box 330500 - Stop 15
                       Detroit, MI 48232


                       U.S. Attorney
                       Attn: Civil Division
                       101 First Street, Suite 200
                       Bay City, MI 48708


                       B2B Financing
                       100 Quentin Roosevelt Blvd.
                       Suite 204
                       Garden City, NY 11530


                       Blarney Castle Oil Co.
                       P.O. Box 246
                       Bear Lake, MI 49614


                       Corrigan Oil Co.
                       775 N. Second
                       Brighton, MI 48116



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                   Great Lakes Collection Agency
                   P.O. Box 638
                   Manistee, MI 49660-0638


                   Komatsu Financial
                   1701 West Golf Road
                   Rolling Meadows, IL 60008


                   Lutke Equipment
                   606 RW Harris Drive
                   Manton, MI 49663


                   Michigan Department of Natural
                   Resources
                   Attn: Jenny McGregor
                   2122 M 37 South
                   Traverse City, MI 49685


                   Woodland Equipment Inc.
                   1581 W. Adams Street
                   P.O. Box 387
                   Iron River, MI 49935




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                                          United States Bankruptcy Court
                                              Western District of Michigan
 In re   Porter's Peninsula Logging LLC                                              Case No.
                                                             Debtor(s)               Chapter    11



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

       I, Todd M. Porter, declare under penalty of perjury that I am the Sole Member of Porter's Peninsula Logging
LLC, and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of
said company at a special meeting duly called and held on the 19th day of May, 2023.

      "Whereas, it is in the best interest of this company to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Todd M. Porter, Sole Member of this Company, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the company; and

       Be It Further Resolved, that Todd M. Porter, Sole Member of this Company is authorized and directed to
appear in all bankruptcy proceedings on behalf of the company, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the company in connection with such
bankruptcy case, and

      Be It Further Resolved, that Todd M. Porter, Sole Member of this Company is authorized and directed to
employ Rozanne M. Giunta P29969, attorney and the law firm of Warner Norcross & Judd, LLP to represent the
company in such bankruptcy case."

Date 5/19/2023                                             Signed /s/ Todd M. Porter
                                                                    Todd M. Porter




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                                         Resolution of Board of Directors
                                                        of
                                           Porter's Peninsula Logging LLC




      Whereas, it is in the best interest of this company to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Todd M. Porter, Sole Member of this Company, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the company; and

       Be It Further Resolved, that Todd M. Porter, Sole Member of this Company is authorized and directed to
appear in all bankruptcy proceedings on behalf of the company, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the company in connection with such
bankruptcy case, and

      Be It Further Resolved, that Todd M. Porter, Sole Member of this Company is authorized and directed to
employ Rozanne M. Giunta P29969, attorney and the law firm of Warner Norcross & Judd, LLP to represent the
company in such bankruptcy case.

Date 5/19/2023                                         Signed   /s/ Todd M. Porter
                                                                Todd M. Porter


Date                                                   Signed




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